Case 2:03-CV-02561-.]DB-STA Document 152 Filed 07/12/05 Page 1 of 3 Page|D 135

Fu-ED B`!' _'___ D_C
IN THE UNITED STATES DISTRICT COURT i. `
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL 12 AH ID= li5

WESTERN DIVISION

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NACCO MA'l"ERlALS HANDLING W` fit misiiis
GROUP, INC., dib/a YALE MATERIALS
HANDLING CORPORATION,

Plaintiff,

v. NO. 03-2561- B A

TOYOTA MATERIALS HANDLING
USA, INC., and THE LILLY COMPANY,

Defendam.

 

ORDER ALLOWING THE LILLY COMPANY TO FILE REPLY BRIEF

 

Upon Motion 01" Defendant, The Lilly Company (“Lilly”), for leave to file a
Reply Brief to Plaintift`S Opposition to Lilly’S Motion for Partial Summary Judgment »-
Exclusivity Provision, and the Court finding that the Motion Should be granted, it is

ORDERED that the Reply Brief Submitted by Lilly Shall be filed by the Clerk.

“"“" <LL
SO ENTEREDTHIS 12 DAY OF ,2005.

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I D STATES DIST CT COURT JUDGE
AN LJ.BREEN

 

   

UNITE sTATEs DISTRICT oURT - WESTERNDTISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 152 in
case 2:03-CV-02561 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listedl

 

 

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Aubrey 13. Harwell

LAW OFFICE OF AUBREY ]3. HARWELL, JR.
150 Fourth Ave. North

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Honorable .1. Breen
US DISTRICT COURT

